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                    UNITED STATES COURT OF INTERNATIONAL TRADE

________________________________________________
                                                :
DOOSAN FUEL CELL AMERICA, INC.,                 :
                                                :
                  Plaintiff,                    :
                                                :
                  v.                            :                       Court No. 21-00057
                                                :
UNITED STATES OF AMERICA;                       :
U.S. CUSTOMS & BORDER PROTECTION;               :
TROY A. MILLER,                                 :
PERFORMING THE DUTIES OF THE                    :
COMMISSIONER,                                   :
                                                :
                  Defendants.                   :
________________________________________________:

                                            COMPLAINT

           Doosan Fuel Cell America, Inc. (“DFCA”), by and through its undersigned attorneys,

alleges and states as follows:

           1.     This action challenges the reclassification by U.S. Customs and Border Protection

(“CBP”) of an article imported by Plaintiff DFCA, the denial of DFCA’s protest of that

reclassification, and the related imposition of duties associated with the protested

reclassification.

           2.     As discussed in this complaint, CBP failed to state a lawful basis for the

reclassification, and failed to consider relevant factors when making its decision to deny DFCA’s

protest. As a result, CBP misclassified DFCA’s subject imports and improperly denied the

protest.

           3.     This action also challenges CBP’s reclassification of the article and denial of the

protest as an unlawful action modifying, revoking, or effectively modifying a prior CBP

classification ruling obtained in 1990 establishing the proper Customs classification of the
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imported article. The 1990 ruling classified the relevant article under Harmonized Tariff System

(“HTS”) heading 8405. In reliance on that ruling, the article was imported under that heading for

nearly thirty years. Additionally, in reliance on CBP’s ruling, DFCA declined over those years to

claim the applicability of certain duty-free trade preference programs and agreements. Also in

reliance on that ruling, DFCA classified many imported parts, components, and related articles

under HTS codes related to the classification provided in the 1990 ruling.

          4.   CBP’s unlawful reclassification of the item failed to provide notice and

opportunity for comment. Despite the absence of any change in the law of tariff classifications,

CBP suddenly announced, in its Notice of Action issued January 9, 2020, that the imported

article (and all future similar imports) would be classified under a new HTS classification,

different from the classification specified in the 1990 ruling. The effect of that reclassification

was to increase the applicable duty rate from zero to 3 percent.

          5.   DFCA timely filed a protest of CBP’s Notice of Action, which CBP unlawfully

denied.

          6.   The 2020 Notice of Action and CBP’s subsequent denial of DFCA’s protest were

unlawful because CBP did not comply with the mandatory procedures set forth in the Customs

Modernization Act of 1993 (the “Mod Act”). Specifically, 19 U.S.C. § 1625(c) requires CBP to

publish in the Customs Bulletin a notice of any proposed interpretative ruling or decision that

would modify or revoke a prior interpretative ruling that has been in effect for at least 60 days, or

have the effect of modifying the treatment of import transactions. Interested parties must be

given an opportunity to submit, during not less than the 30-day period after the date of such

publication, comments on the correctness of the proposed ruling or decision. That notice

requirement is designed to permit interested parties to comment before CBP makes its final


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decision. The final ruling or decision shall not become effective until 60 days after the date of its

publication. Here, CBP’s 2020 Notice of Action revoked or modified the 1990 ruling and had the

effect of modifying CBP’s prior treatment of imports of the article. But in violation of the Mod

Act, the Notice of Action and subsequent denial of DFCA’s protest failed to provide the required

notice and comment period, imposed a reclassification of the article effective immediately, and

imposed a rate advance on the affected article on the date the notice was issued.

         7.      The Notice of Action and subsequent denial of DFCA’s protest are also invalid

under the Due Process Clause of the Fifth Amendment to the Constitution of the United States.

         8.      Accordingly, and for the reasons set forth in greater detail below, the Court

should set aside the Notice of Action (dated January 9, 2020) and CBP’s denial of DFCA’s

protest of that action as unlawful and null and void, and should grant other relief as outlined in

DFCA’s Prayer for Relief below.

                                          JURISDICTION

         9.      The Court possesses subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1581(a), which confers exclusive jurisdiction to the Court over “any civil action

commenced to contest the denial of a protest, in whole or in part, under Section 515 of the Tariff

Act of 1930.” 1 The Court also has jurisdiction and under the Declaratory Judgment Act, 28

U.S.C. § 2201.




1
    DFCA filed its protest pursuant to Section 514 of the Tariff Act of 1930. Section 515 of the
    Tariff Act of 1930 (19 U.S.C. 1515) sets forth standards governing the administrative review of
    protests filed under Section 514.
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                                              PARTIES

       10.     Plaintiff DFCA is a Delaware corporation with its headquarters located at 101

East River Drive, East Hartford, CT 06108. DFCA is an importer of, inter alia, water gas

generators.

       11.     Defendant United States of America is the statutory defendant under 28 U.S.C. §

1581(a).

       12.     CBP is an executive agency of the United States charged with facilitating

legitimate trade and enforcing U.S. Customs laws and regulations.

       13.     Defendant Troy Miller is the Senior Official Performing the Duties of the

Commissioner of CBP. In this capacity, he oversees CBP’s collection of duties paid by Plaintiff.

                                            STANDING

       14.     Plaintiff DFCA manufactures hydrogen fuel cell generators in the United States,

using certain imported parts and components. In 1990, a division of DFCA’s predecessor

company, the Carrier Corporation, sought a classification ruling for certain components used in

the manufacture of hydrogen fuel cell generators. The availability of classification rulings is one

of the critical elements of the Mod Act’s policy of “informed compliance,” whereby CBP takes

responsibility for informing the trade community of classification decisions and other rules so

that members of the community can conduct themselves in accordance with such rules. CBP’s

own regulations hold that it is in the interest of the “sound administration” of Customs laws that

persons engaging in any transaction affected by the Customs laws “fully understand the

consequences of that transaction prior to its consummation.” 19 C.F.R. § 177.1(a)(1). To that

end, the regulations offer importers the opportunity to obtain classification rulings from CBP that

set forth a “definitive interpretation of applicable law.” Id.


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       15.     In response to the 1990 ruling request, CBP issued a binding classification ruling,

NY 854572, dated July 26, 1990. The ruling constitutes a “definitive interpretation of applicable

law” under 19 C.F.R. § 177.1(a)(1), classifying the article then known as the PC25, which is a

component of a hydrogen fuel cell generator.

       16.     The July 26, 1990 ruling stated that the steam methane reformer of the PC25

“converts natural gas and steam into a gas that is mostly hydrogen. The gas is then fed to the fuel

cell which generates the DC for inversion to AC.” For that reason, NY 854572 concluded that

the applicable HTS subheading for the reformer is HTS 8405.10.0000, which provides for

“Producer gas or water gas generators.” See NY 854572.

       17.     In reliance on the 1990 ruling, DFCA and its predecessors imported the PC25

module and functionally equivalent articles under HTS heading 8405 for nearly 30 years. As the

product evolved, the model number changed, but the function of the steam methane reformer

remained equivalent, and the HTS Article Description of classification 8405.10.000 remained

materially unchanged. Consequently, the applicability of NY 854572 was unchanged. In 2020,

the steam methane reformer formed the core component of the imported DFCA model PC50, just

as the functionally equivalent steam methane reformer formed the core component of the earlier

PC25. As CBP determined in NY 854572, the principal function of the steam methane reformer

is to generate a water gas that is mostly hydrogen, for use as a fuel in a fuel cell generator. As

imported, the model PC50 subject to the instant action was functionally equivalent to the model

PC25 considered in NY 854572. Namely, its principal function is to convert natural gas and

steam into a gas that is mostly hydrogen, for use as a fuel in a fuel cell generator.




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        18.    Therefore, since at least 1990, on the basis of NY 854572, DFCA and its

predecessor companies have imported modules containing steam methane reformers, including

the model PC50 at issue in this action, under HTS heading 8405.

        19.    In the January 2020 Notice of Action, CBP abruptly reclassified the PC50 under

HTS 8503.00.9550, which provides for “Parts suitable for use solely or principally with the

machines of heading 8501 or 8502; other; other; other.” The Notice of Action contained no

reference to the 1990 ruling, NY 854572. The applicable rate of duty for the new 8503

classification is 3%.

        20.    On April 30, 2020, pursuant to Section 514 of the Tariff Act of 1930, DFCA

timely filed an administrative protest objecting to CBP’s reclassification of the PC50 to HTS

8503.00.9550. The protest was filed at the Port of New York/Newark, New Jersey (Port Code

4601) regarding Entry No. CWL20160223. CBP assigned the matter protest number

460120113491. The protest objected to CBP’s reclassification on the basis that the Notice of

Action was contrary to the 1990 ruling. The protest further outlined why the essential character

of the imported article (as provided in the 1990 ruling) is as a producer gas or water gas

generator, and thus why the PC50 was properly classified as entered under HTS 8405.10.0000.

        21.    On August 18, 2020, CBP denied DFCA’s protest, again without acknowledging

or even addressing the applicability of the 1990 Ruling. As a result, DFCA was compelled to pay

the applicable duty of 3% on the relevant import.

        22.    DFCA paid the 3% duty on Entry No. CWL20160223 by check dated March 6,

2020.

        23.    DFCA is the owner and the importer of record of the article involved in this

action, and DFCA filed the protest. Therefore, as the person that filed the protest that was denied


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pursuant to Section 515 of the Tariff Act of 1930, DFCA has standing in this action as a person

entitled to commence a civil action as provided in 28 U.S.C. 2631(a).

       24.     Accordingly, DFCA has standing to bring suit in this matter.

                               TIMELINESS OF THE ACTION

       25.     A plaintiff must commence a civil action contesting the denial of a protest under

28 U.S.C. § 1581(a) “within one hundred and eighty days after the date of the mailing of a notice

of action of denial of a protest” under Section 515 of the Tariff Act of 1930. 28 U.S.C. § 2636(a).

       26.     The instant action contests Defendants’ actions that resulted in a denial of

Plaintiff’s protest under Section 515 of the Tariff Act of 1930. That denial was issued by email

by CBP on August 18, 2020.

       27.     This action is filed on February 12, 2021, which is within one hundred and

seventy-eight days of the mailing of the denial of the protest.

       28.     Plaintiff has therefore timely filed this action.

                                   PROCEDURAL HISTORY

I.     1990 Binding Ruling

       29.     On July 26, 1990, CBP issued a binding ruling stating that the model PC25’s

steam methane reformer that converts natural gas into hydrogen for use in a fuel cell system,

imported without the fuel cell stack, is properly classified under HTS 8405.10.0000 (producer

gas or water gas generators). See NY 854572. That ruling was issued to a DFCA predecessor

company, the Carrier Corporation, then a division of United Technology Corporation (“UTC”).

ClearEdge Power Inc., purchased the assets of UTC Power in 2013, and DFCA acquired such

assets out of the bankruptcy of ClearEdge Power, Inc. in 2014. Thus, for U.S. Customs purposes,

NY 854572 was issued to a predecessor of DFCA.


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       30.     Since at least 1990, DFCA and its predecessor companies have imported modules

containing steam methane reformers, including current model PC50, under HTS heading 8405.

The PC50, as imported, has the essential character of a water gas generator that converts natural

gas and steam into a water gas that is mostly hydrogen. After import, in the United States, DFCA

conducts further manufacturing of the item by integrating it with components not imported with

the PC50 (including an Electronic System Module, fuel cell stacks, and other components). Once

further manufacturing in the United States is complete, the final product is known as the DFCA

PureCell® System, which is a 440-460kW fuel cell power plant that generates electricity.

       31.     The classification of the PC50 as imported in 2020 under HTS 8405.10.0000 is

consistent with Customs Ruling NY 854572. That ruling considered the PC25 module. That

ruling states that the steam methane reformer of the PC25 “converts natural gas and steam into a

gas that is mostly hydrogen.” The gas is then fed to the fuel cell which generates the DC power

for inversion to AC power. For that reason, NY 854572 concluded that the applicable HTS

subheading for the reformer is 8405.10.0000, which provides for “producer gas or water gas

generators.”

       32.     The core component of the PC25 module subject to NY 854572 is the steam

methane reformer. Likewise, the steam methane reformer is the core component of the successor

PC50 that is the subject of this action. As CBP determined in NY 854572, the principal function

of the reformer is to generate a water gas. As imported, the PC50 that is the subject of this action

is functionally equivalent to the module that was the subject of NY 854572. Its principal function

is to convert natural gas and steam into a gas that is mostly hydrogen, for use as a fuel in a fuel

cell generator. Consequently, the proper classification of the PC50 is 8405.10.0000, which

provides for “producer gas or water gas generators.”


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         33.     For those reasons, in reliance on NY 854572, DFCA continued to import the

PC50 under HTS 8405.10.0000 until 2020.

II.      CBP Notice of Action

         34.     On January 9, 2020, CBP issued the Notice of Action (Form CF-29) that is the

subject of DFCA’s protest. The Notice of Action addressed DFCA’s Entry No. CWL20160223.

The imported item is a DFCA PC50. The HTS classification declared on entry was

8405.10.0000. The duty rate as declared was zero. The entered value of the item was

$180,666.00. The Notice of Action determined that the HTS classification as entered was

incorrect, and directed that the correct HTS classification was 8503.00.9550 (applicable rate of

duty: 3%).

         35.     In subsequent email correspondence to DFCA, CBP stated that the PC50,

“lacking the control electronics and fuel cells, is thus considered an incomplete fuel cell system,

and is classified as parts of a generator under 8503.00.9550.”

III.     Administrative Protest

         36.     On April 30, 2020, DFCA timely filed an administrative protest of CBP’s Notice

of Action. The protest objected to CBP’s reclassification of the PC50 to HTS 8503.00.9550. The

protest provided facts and analysis supporting the proper classification of the PC50 under HTS

8405.10.0000, 2 and supporting the applicability of NY 854572.




2
    CBP’s email message accompanying the Notice of Action added that “any other parts” of the
    DFCA PureCell® System “are also properly classified under 8503.00.9550, therefore parts that
    were entered under 8405.90.0000 [parts of a water gas generator] are also misclassified.” In
    DFCA’s view, and consistent with the 1990 binding ruling on the PC25, the referenced parts are
    in fact parts of a water gas generator, properly classified under 8405.90.0000. In DFCA’s protest,
    DFCA requested that, to the extent that CBP approved the protest and classified the PC50 under
    HTS 8405.10.0000, that parts thereof be classified 8405.90.0000.
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       37.     The protest provided details showing that the core component of the PC50 as

imported is the steam methane reformer, functionally identical to the reformer considered in NY

854572, which produces chemical reactions to convert steam and natural gas into gas that is

mostly hydrogen.

       38.     The protest also provided details demonstrating that the reclassification of the

PC50 as an incomplete fuel cell generator is incorrect as a matter of CBP practice. In that

connection, the protest demonstrated that CBP considers a fuel cell power plant imported with

the fuel cell stack to be properly classified as a generator of electricity under HTS heading 8501.

It also provided details demonstrating that CBP considers the fuel cell stack to provide the

essential character of a fuel cell electrical generator. The protest also provided details

demonstrating that the PC50 as imported did not include the fuel cell stack, and thus could not be

considered to be an incomplete electricity generator.

       39.     The protest also provided details demonstrating that the fact that the PC50

generates fuel (rather than electricity) makes clear that the PC50 has the essential character of a

generator of gas, and does not have the essential characteristic of a generator of electricity, and

that CBP’s reclassification under heading 8503 as an “incomplete” generator of electricity was

incorrect.

       40.     The protest also provided details demonstrating that the relevant HTS rules and

notes support classifying the PC50 under heading 8405.

IV.    Protest Denial

       41.     On August 18, 2020, CBP denied DFCA’s protest. As further outlined below,

CBP’s protest denial failed to establish a lawful basis for the reclassification of the PC50 under

HTS 8503.


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           42.   Accordingly, DFCA files this civil action challenging CBP’s denial of DFCA’s

protest.

                                   STATEMENT OF CLAIMS

                                           COUNT ONE

                               CBP Incorrectly Classified the PC50

           43.   Paragraphs 1 through 42 are restated and incorporated by reference as if fully

stated herein.

           44.   DFCA’s model PC50 is properly classified under HTS 8405.10.0000. The

function, and thus the essential character, of the PC50 is a water gas generator, as described in

heading 8405. DFCA was in possession of a binding ruling to that effect, i.e., NY 854572. The

PC50 and prior models containing steam methane reformers had been imported under heading

8405 for decades in reliance on that ruling.

           45.   CBP explained its denial of CBP’s protest as follows: “The PC50 Supermodule

satisfies the prerequisites for consideration as a part, Section 16 Note 2(b) instructs us to classify

the machine as part under heading 8503. The appropriate subheading will be 8503.00.9550,

HTSUS. The PC50 is an integral component of the fuel cell generator, a component that a

complete generator cannot function without. Furthermore, the component cannot be identified as

a separate and distinct commercial entity. As such, it must be considered a part for classification

purposes.”

           46.   As is clear from the denial, CBP failed to address the applicability of NY 854572,

the binding ruling DFCA relied upon in classifying the PC50 as imported. Additionally, CBP

failed to address DFCA’s explanation of the proper application of the relevant HTS rules and




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notes, or the relevant practices of CBP supporting the proper classification of the PC50 under

heading 8405.

       47.       CBP’s denial of DFCA’s protest misstates the function of the PC50 by

characterizing it as an incomplete generator of electricity. Rather, the essential function of the

PC50 is the generation of gas, not of electricity. As established in NY 854572, such articles are

properly classified as water gas generators under HTS heading 8405.

       48.       CBP’s explanation of its denial of DFCA’s protest contains the incorrect assertion

that certain HTS Chapter Notes direct CBP to find that the PC50 is properly classified under

heading 8503. However, the denial makes no attempt to address the legal analysis of those notes

and related rules contained in DFCA’s protest, which concludes that the proper classification is

heading 8405.

       49.       CBP’s Notice of Action and its denial of DFCA’s protest therefore fail to state a

lawful basis for the reclassification of the PC50 from heading 8405 to heading 8503.

       50.       For these reasons, the Notice of Action and denial of DFCA’s protest therefore

should be declared unlawful and null and void, and other relief as outlined in DFCA’s Prayer for

Relief below should be granted.

                                           COUNT TWO

              CBP Violated the Law by Modifying or Revoking NY 854572
     Without Affording Notice and Comment Required Under of 19 U.S.C. § 1625(c)(1)

       51.       Paragraphs 1 through 50 are restated and incorporated by reference as if fully

stated herein.

       52.       CBP did not follow the procedures required pursuant to 19 USC § 1625(c)(1)

prior to reclassifying the PC50 under a tariff heading other than one mandated by the

classification ruling NY 854572.
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       53.       Under Section 1625(c)(1), CBP must publish notice of a proposed interpretive

ruling that would “modify (other than to correct a clerical error) or revoke a prior interpretive

ruling or decision which has been in effect for at least 60 days,” and CBP must afford interested

persons 30 days to comment on the proposed ruling.

       54.       If, after considering the comments received during the notice and comment

period, CBP decides to modify the treatment or revoke the ruling, it must publish a final notice

of such modification in the Customs Bulletin within 30 days of the close of the notice and

comment period. The modification or revocation takes effect only with respect to imports entered

or withdrawn from warehouse at least 60 days after the publication of the modification.

       55.       The U.S. Court of Appeals for the Federal Circuit has held that a reclassification

via a Notice of Action constitutes an interpretive ruling or decision “subject to § 1625(c)’s notice

and comment procedures.” International Custom Products, Inc. v. United States, 748 F.3d 1182,

1188 (Fed. Cir. 2014).

       56.       Here, NY 854572 was in effect for at least 60 days (i.e., from July 1990 to

January 2020).

       57.       Moreover, NY 854572 applied to the PC50 as imported, because the PC50 has the

same function as the steam methane reformer module classified in NY 854572. Thus, CBP’s

reclassification of the PC50 constituted a decision modifying or revoking NY 854572, within the

purview of Section 1625(c).

       58.       Given the direct impact of CBP’s decision on DFCA’s imports, DFCA was an

“interested person” as contemplated by the statute, and was entitled to notice and comment.

       59.       Consequently, CBP modified or revoked NY 854572 without publishing the

required notice of the proposed revocation in the Customs Bulletin, without providing DFCA the


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required 30-day opportunity to comment, without publishing the required final notice of

revocation after consideration of DFCA’s comments, and without applying the revocation only

to DFCA’s imports occurring at least 60 days after the publication as required.

       60.       The modification or revocation of NY 854572 by the Notice of Action and the

denial of DFCA’s protest was thus contrary to Section 1625(c)(1). The Notice of Action and

denial of DFCA’s protest therefore should be declared unlawful and null and void, and other

relief as outlined in DFCA’s Prayer for Relief below should be granted.

                                         COUNT THREE

   CBP Violated the Law by Effectively Modifying Prior Treatment of DFCA’s Imports
         Without Affording Notice and Comment Under 19 U.S.C. § 1625(c)(2)

       61.       Paragraphs 1 through 60 are restated and incorporated by reference as if fully

stated herein.

       62.       CBP did not follow the procedures mandated by Section 1625(c)(2) of the Mod

Act prior to issuing the decision that modified its longstanding classification of modules

containing steam methane reformers under HTS 8405.10.0000.

       63.       Under Section 1625(c)(2), CBP must publish notice of a proposed interpretive

ruling that has the “effect of modifying the treatment previously accorded by the Customs

Service to substantially identical transactions,” and CBP must afford interested persons 30 days

to comment on the proposed ruling.

       64.       If, after considering the comments received during the notice and comment

period, CBP decides to modify the treatment, it must publish a final notice of the modification in

the Customs Bulletin within 30 days of the close of the notice and comment period. The

modification takes effect only with respect to imports entered or withdrawn from warehouse at

least 60 days after the publication of the modification.
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       65.     The U.S. Court of Appeals for the Federal Circuit has held that a CBP Notice of

Action reclassifying a product constitutes a “decision” within the meaning and purview Section

1625(c). See International Custom Products, Inc. v. United States, 748 F.3d 1182, 1188 (Fed.

Cir. 2014).

       66.     Since at least 1990, CBP classified the PC25 under HTS 8405.10.0000, and

permitted the entry of PC25 and PC50 modules under that HTS classification. That consistent

classification of modules containing steam methane reformers over that extended period of years

constitutes a “treatment” accorded to imports of the article. CBP was obligated to apply that

treatment to such transactions unless and until the treatment was modified in accordance with

Section 1625(c)(2). See Precision Specialty Metals, Inc. v. United States, 116 F.Supp.2d 1350

(Ct’ Int’l Trade 2000) (the term “treatment” denotes a pattern of actions by CBP as opposed to

articulated policies or positions). The steam methane reformer of the PC50 is functionally

identical to the steam methane reformer of the PC25 article that was the subject of the NY

854572 ruling. Therefore imports of the PC50 constitute a “substantially identical transaction” as

contemplated by Section 1625(c)(2).

       67.     CBP’s consistent treatment of the imports over nearly 30 years of imports, from

the 1990 ruling NY 854572, up to the time of the 2020 Notice of Action, was to permit imports

of the article under HTS 8405. Thus CBP’s Notice of Action and subsequent denial of DFCA’s

protest, by reclassifying the article under HTS heading 8503, had the effect of modifying the

treatment previously accorded by CBP, as contemplated in Section 1625(c)(2).

       68.     Given the direct impact of CBP’s decision on DFCA’s imports, DFCA was an

“interested person” as contemplated by the statute, and was entitled to notice and comment.




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       69.       CBP’s Notice of Action thus had the effect of revoking the prior classification

treatment of imports of the article, without publishing the required notice of the proposed

revocation in the Customs Bulletin, without providing the required 30-day opportunity to

comment, without publishing the required final notice of revocation after consideration of

comments, and without applying the revocation only to DFCA’s imports occurring at least 60

days after the publication.

       70.       The effective modification of the treatment previously accorded under NY

854572 and under 30 years of imports, by virtue of the Notice of Action and the denial of

DFCA’s protest, was thus contrary to Section 1625(c)(2). The Notice of Action and denial of

DFCA’s protest therefore should be declared unlawful and null and void, and other relief as

outlined in DFCA’s Prayer for Relief below should be granted.

                                     COUNT FOUR
                   CBP Violated DFCA’s Constitutional Right to Due Process

       71.       Paragraphs 1 through 70 are restated and incorporated by reference as if fully

stated herein.

       72.       By failing to conduct the revocation, modification, or effective modification

process in accordance with Section 1625, CBP deprived DFCA of rights under the Due Process

Clause of the Fifth Amendment to the Constitution of the United States, which states that no

person shall be deprived of property “without due process of law.”

       73.       By failing to conduct the revocation, modification, or effective modification in

accordance with Section 1625, CBP deprived DFCA of rights accorded by statute to importers,

and thus violated DFCA’s rights under the Fifth Amendment Due Process Clause.

       74.       By failing to conduct the revocation, modification, or effective modification in

accordance with its own regulations, including 19 C.F.R. § 177.12, CBP deprived DFCA of
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rights accorded by regulation to importers whose classification rulings or treatment are revoked

or modified by Customs, and violated DFCA’s rights under the Fifth Amendment Due Process

Clause.

          75.     By changing its own rules after encouraging DFCA to rely upon those rules under

principles embodied in the Mod Act, CBP violated DFCA’s rights under the Fifth Amendment

Due Process Clause.

          76.     By revoking, modifying, or effectively revoking DFCA’s classification ruling and

prior treatment of the PC50, CBP deprives DFCA of future profits and commercial opportunities,

and denies DFCA its ability to recover costs incurred and resources expended in reliance on the

ruling and prior treatment. Such deprivation violated DFCA’s rights under the Fifth

Amendment Due Process Clause.

          77.     Thus, the Notice of Action and CBP’s denial of DFCA’s protest should be

declared unlawful and null and void, and other relief as outlined in DFCA’s Prayer for Relief

below should be granted.

                                                  ***

                                       PRAYER FOR RELIEF

          Wherefore, Plaintiff respectfully requests that this Court:

            (1)     declare the Notice of Action unlawful and null and void ab initio;

            (2)     declare the denial of DFCA’s protest unlawful and null and void ab initio;

            (3)     declare that NY 854572 (July 26, 1990) remains in full force and effect;

            (4)     permanently enjoin Defendants from classifying, reclassifying, liquidating, or

                    reliquidating DFCA’s subject imports of the PC50 in a manner inconsistent

                    with NY 854572, unless and until Defendants revokes that ruling in


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                accordance with 19 U.S.C. § 1625, 19 C.F.R. 177.12, and the U.S.

                Constitution;

         (5)    order Defendants to refund, with interest, any duties Plaintiff paid pursuant to

                the reclassification;

         (6)    award Plaintiff its costs and reasonable attorney fees; and

         (7)    grant such other and further relief as may be just and proper.

                                        Respectfully submitted,

                                        /s/ Christopher M. Loveland
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Dated: February 12, 2021


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